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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:03-cr-00041-MP-AK

LINSOME A. BOYD,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 691, Motion to Reduce Sentence, filed by

Defendant Linsome A. Boyd. Previously, Defendant filed a motion for appointment of counsel,

which the Court construed as a motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2).

Doc. 666. After the enactment of Amendments 706 and 711 to the United States Sentencing

Guidelines (“Guidelines”), Defendant’s Total Offense Level decreased to level 31. Upon

consideration, the Court granted Defendant’s motion to reduce sentence and decreased

Defendant’s sentence from 120 months of incarceration to 108 months of incarceration. Doc.

685. That order was signed on May 9, 2008, and entered on May 14, 2008. Apparently without

knowledge that the motion had been granted, Defendant filed the instant motion to reduce

sentence on May 14, 2008. Because Defendant’s second motion includes, for the first time, a

memorandum of law in support of Defendant’s motion to reduce sentence, the Court construes

Defendant’s motion as a motion for reconsideration.

       As stated above, Defendant’s sentence was reduced upon consideration of the changes to

Defendant’s Total Offense Level resulting from the enactment of Amendments 706 and 711 to

the Guidelines. Defendant’s revised sentence falls at the bottom of the recalculated Guideline
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range. The Court sees no reason to reconsider its previous order. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        The motion to reduce sentence at Doc. 691 is construed as a motion for reconsideration
        and is DENIED.

        DONE AND ORDERED this           2nd day of October, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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